Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA
LINDSEY K. SPRINGER,
Plaintiff,
v. Case No. CIV-05-466-F

UNITED STATES OF AMERICA, et al.,

Defendants.

Newuee/ Nome None reer Nore rege Neue Nee mee nee”

DECLARATION OF IRS REVENUE OFFICER FREDERICK J. RICE

I, FREDERICK J. RICE, also known as Fred Rice, declare that:

1. I am a duly commissioned Revenue Officer who is employed by the
Internal Revenue Service (“IRS”) in Oklahoma City, Oklahoma.

2. As a Revenue Officer, I am responsible for investigating and collecting the
delinquent federal tax liabilities that have been assessed against taxpayers. I also conduct
taxpayer delinquent investigations to secure the federal tax returns that taxpayers were
required by law to file with the IRS, but failed to do so. I have been employed as a
Revenue Officer for approximately 21 years.

3. This Declaration is executed in support of the United States’ Brief in
Opposition to Plaintiff's Motion for Temporary Restraining Order.

4. Except where specifically noted to the contrary, I have personal
knowledge of the facts set forth in this Declaration, and, if called upon to testify to said

facts, could do so competently.

1339591.1
Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 2 of 6

5. I was assigned to collect the federal income taxes and statutory additions
to tax that were assessed against the taxpayer, Lindsey K. Springer (“Springer’’), for the
tax years ending December 31, 1990 through December 31, 1995, and his liability for the
IRC § 6673 penalty imposed by the United States Tax Court.

6. In accordance with the provisions of IRS § 6330 and the corresponding
provisions of the Treasury Regulations and Internal Revenue Manual, I sent Springer an
IRS “Final Notice — Notice of Intent to Levy and Notice of Your Right to a Hearing”
(Letter 1058) on March 2, 2005, with respect to the federal tax liabilities described in
paragraph 5, above.

7. I suspended my efforts to collect the federal tax liabilities described in
paragraph 5, above, after learning that Springer had filed a request for a collections due
process hearing with respect to those federal tax liabilities on or about March 15, 2005.
At the time that I suspended the collection of Springer’s federal tax liabilities, I had not
seized or levied upon any property or rights to property to satisfy Springer’s federal tax
liabilities.

8. I have read, and am familiar with, the notices of determination that were
issued to the taxpayer, Lindsey K. Springer, on August 16, 2005, with respect to his
request for a collection due process hearing under IRC § 6330. Neither I, or, to my
knowledge, any other IRS employee has undertaken to collect the federal tax liabilities
described in paragraph 5, above. The collection of those federal tax liabilities will remain

in suspension during the period prescribed by law.

-2- 1339591.1
Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 3 of 6

VERIFICATION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.

sl
Executed on August -3/ ~, 2005.

FREDERICK J.R1CE
Revenue Officer
Internal Revenue Service

-3- 1339591.
Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 4 of 6

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA
LINDSEY K. SPRINGER,
Plaintiff,
v. Case No. CIV-05-466-F

UNITED STATES OF AMERICA, et al.,

Defendants.

Nome Nee Nine Noe ee Nene ee ee ee eee”

DECLARATION OF IRS REVENUE OFFICER FREDERICK J. RICE

I, FREDERICK J. RICE, also known as Fred Rice, declare that:

1. I am a duly commissioned Revenue Officer who is employed by the
Internal Revenue Service (“IRS”) in Oklahoma City, Oklahoma.

2. As a Revenue Officer, I am responsible for investigating and collecting the
delinquent federal tax liabilities that have been assessed against taxpayers. I also conduct
taxpayer delinquent investigations to secure the federal tax returns that taxpayers were
required by law to file with the IRS, but failed to do so. I have been employed as a
Revenue Officer for approximately 21 years.

3. This Declaration is executed in support of the United States’ Brief in
Opposition to Plaintiff's Motion for Temporary Restraining Order.

4. Except where specifically noted to the contrary, I have personal
knowledge of the facts set forth in this Declaration, and, if called upon to testify to said

facts, could do so competently.

13395911
Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 5 of 6

5. I was assigned to collect the federal income taxes and statutory additions
to tax that were assessed against the taxpayer, Lindsey K. Springer (“Springer”), for the
tax years ending December 31, 1990 through December 31, 1995, and his liability for the
IRC § 6673 penalty imposed by the United States Tax Court.

6. In accordance with the provisions of IRS § 6330 and the corresponding
provisions of the Treasury Regulations and Internal Revenue Manual, I sent Springer an
IRS “Final Notice — Notice of Intent to Levy and Notice of Your Right to a Hearing”
(Letter 1058) on March 2, 2005, with respect to the federal tax liabilities described in
paragraph 5, above.

7. I suspended my efforts to collect the federal tax liabilities described in
paragraph 5, above, after learning that Springer had filed a request for a collections due
process hearing with respect to those federal tax liabilities on or about March 15, 2005.
At the time that I suspended the collection of Springer’s federal tax liabilities, I had not
seized or levied upon any property or rights to property to satisfy Springer’s federal tax
liabilities.

8. I have read, and am familiar with, the notices of determination that were
issued to the taxpayer, Lindsey K. Springer, on August 16, 2005, with respect to his
request for a collection due process hearing under IRC § 6330. Neither I, or, to my
knowledge, any other IRS employee has undertaken to collect the federal tax liabilities
described in paragraph 5, above. The collection of those federal tax liabilities will remain

in suspension during the period prescribed by law.

-2- 13395911
Case 4:09-cr-00043-SPF Document 35-8 Filed in USDC ND/OK on 04/13/09 Page 6 of 6

VERIFICATION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.

oe
Executed on August 3/ = 2005.

REDERICK JFRICE
Revenue Officer
Internal Revenue Service

-3- 1339591.1
